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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
                                                                         04 CV 397
SOKOLOW, et al.,

                                  Plaintiffs,                            DECLARATION
                                                                         SUBMITTING EXHIBIT
                          -against-
                                                                         PREVIOUSLY
PALESTINE LIBERATION ORGANIZATION, et                                    ERRONEOUSLY OMITTED
al.,

                                  Defendants.

-------------------------------------------------------------------- X


                 ROBERT J. TOLCHIN, pursuant to 28 U.S.C. § 1746, declares and states

as follows subject to the penalties for perjury of the United States of America:

                 1.       On October 3, 2007 I filed certain papers pertaining to pending

motions in this matter through the ECF system.

                 2.       It has come to my attention that an exhibit to one of the documents

I filed was erroneously not included with the documents e-filed.

                 3.       The omitted exhibit is the curriculum vitae of Daniel Reisner, a copy

of which is annexed as Exhibit A hereto. This document should have been included in

docket entry 52, Attachment 1, as Exhibit A thereto.

Dated: New York, New York
       October 24, 2007
                                                     s/ Robert J. Tolchin
                                                     ROBERT J. TOLCHIN
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                       Exhibit A
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                                       Exhibit A

                                     Daniel Reisner
              4 Berkovitch Street, Museum Tower, 6th floor Tel-Aviv, 61330
        Tel: (office) 972-3-6935200; (fax) 972-3-6935261; (cell) 972-XX-XXXXXXX
                             Email: danielr@reisner-law.com

  Education:

  LL.B. Tel-Aviv University, 1985
  Member of Israel Bar, 1987

  Work Experience:

  2005 - Present: Daniel Reisner law offices, Tel-Aviv, Israel. Law firm specializing in
  international legal consulting.
  2004 – 2005: Manager, Yad Hanadiv (the Rothschild Foundation), Jerusalem.
  1995- 2004: Assistant Military Advocate General for International Law and Head of
  IDF International Law Department.
  1993-1995: Deputy Assistant Military Advocate General for International Law and
  Senior Advisory Officer for International Negotiations;
  1988-1993: Senior Advisory Officer, International Law Department, IDF Military
  Advocate General’s Unit;
  1985-1988: Advisory Officer, International Law Department, IDF Military Advocate
  General’s Unit;
  1984: S. Friedman and Co., Private Law Firm - Haifa, Israel.

  Military Courses:

  1985: I.D.F. Officers Course - Honors Graduate.
  1985: I.D.F. Staff Officers Course - Honors Graduate.
  1986: I.D.F. Legal Officers Course.

  Military Rank: Colonel (Ret.)

  Additional Significant Professional Experience:

  2006: Member of select three-member committee appointed by the Prime Minister
  and Foreign Minister to address the Disengagement in the West Bank.
  2004-Present: External expert consultant to the Israeli National Security Council and
  the Israel Ministry of Foreign Affairs.
  2004 – 2005: External expert consultant to the Deputy Prime Minister (Shimon Peres)
  on the Middle-East Peace process.
  1999 - 2000: Primary legal advisor and member of the Israeli delegations to the peace
  talks with the Palestinians on behalf of Prime Minister Ehud Barak. Member of the
  delegations to the Sharm el-Sheikh, Washington and Taba negotiations, and to the
  Camp David summit. Responsible for legal aspects and drafting of the agreements.
  1996 - 1999: Primary legal advisor and member of the Israeli delegations to the peace
  talks with the Palestinians on behalf of Prime Minister Binyamin Netanyahu. Member
  of the delegations to the Hebron and Wye River negotiations. Drafter of the Hebron
  and Wye River agreements.
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                                        Exhibit A

  1994-1995: Legal advisor and member of the Israeli delegations to the peace talks
  with the Palestinians on behalf of the late Prime Minister Yitzhak Rabin. Member of
  the delegations to the Gaza-Jericho and Interim negotiations. Co-drafter of the Gaza-
  Jericho and Interim agreements.
  1994: Member of delegation and legal advisor, Israeli delegation to the Israel-Jordan
  Peace Talks, headed by the late Prime Minister Yitzhak Rabin; Member of the select
  negotiating and drafting committee of the Treaty of Peace.
  1986-1988: Member of the Israeli legal team for the Taba Arbitration with Egypt.

  Publications:

  •     Constraints on the Waging of War: Jus in Bello and the Challenge of
        Modern Conflicts, 97 ASIL Proc. (2003), 200-203.
  •     Negotiating Civil Autonomy Amidst Political and Security Uncertainty,
        in New Political Entities in International Law (The Hague. A. Shapira &
        M. Tabory, eds. 1999), 71-113.
  •     The Hebron Agreements, Justice, vol. 12 (1997).
  •     Legal Options in the War Against Terror, Justice, vol. 8 (1996).
  •     Peace on the Jordan, Justice, vol. 4 (1995).
  •     Civilian Wargames and Their Application in the Military, ITOP (IDF
        Doctrine and Development Journal) (1987).


  Academic Experience:

  •          Senior Fellow: The Jewish Planning and Policy Institute, Jerusalem
      (Chaired by Ambassador Dennis Ross): 2006 – present.
  •          Research Fellow: Israel Democracy Institute: 2005 – present.
  •          Lecturer, Tel-Aviv University Law school: 2004 – present (courses
      taught in 2007 are: legal aspects of anti-terrorism operations; and the theory
      and practice of negotiation)
  •          Lecturer, Rishon Le’tzion School of Management, Law faculty:
      2004- present (courses taught in 2007 are: legal aspects of anti-terrorism
      operations; and the theory and practice of negotiations).
  •          Lecturer, US DOD Program on Terrorism and Security Studies,
      George C. Marshall European Center for Security Studies, Garmisch-
      Partenkirchen, Germany. 2003-present.
  •          Lecturer, Hebrew University Law School, Jerusalem: 2001-2002
      (course taught – legal aspects of the Arab-Israeli conflict)
  •          Lecturer, Tel-Aviv University Law School, Temple University
      Summer program: 1995 - 2000
  •          Lecturer, Israel’s National Security College, IDF Command and
      Staff College, the General Security Service, and other senior IDF and
      security services courses: 1995-present.
  •          Guest lecturer in numerous universities and institutions, both in
      Israel and abroad 1995- present (topics include: legal aspects of terrorism,
      the Middle East Peace process; international law; and international
      negotiations).
